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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

DISH NETWORK L.L.C.,                  §
                                      §     Civil Action No. 4:17-cv-01618
                                      §
             Plaintiff,               §
      v.                              §
                                      §
SHAHJAHAN DURRANI, d/b/a ZemTV,       §
and ADAM LACKMAN, d/b/a               §
www.tvaddons.ag, www.tvaddons.org,    §
www.streamingboxes.com, and           §
www.offshoregit.com,                  §
                                      §
             Defendants.              §
                                      §
_________________________________________________________________________________

          PETITIONER’S MOTION TO CONTINUE SHOW CAUSE HEARING
_________________________________________________________________________________

1. On July 13, 2018, the Court entered a Show Cause Order [Doc. 42] requiring Petitioner to appear
   before the Court on September 10, 2018, at 9:30 a.m.
2. Because the order stated my actions were allegedly done to “inhibit the progress of the matter
   before the Court which was to determine if his client was improperly withholding discoverable
   documents,” [id.] I thought the topic of the hearing was to determine whether documents were
   being improperly withheld and thus mooted by the joint stipulation of voluntary dismissal against

   my client filed on September 4, 2018. Doc. 48.

3. On September 7, 2018, I noticed the hearing was still on the docket for September 10 and made
   an inquiry with the Court’s Case Manager as to why the hearing was still on the calendar.
4. I was then informed by the Case Manager that the hearing was regarding my “language and
   egregious conduct” and not whether documents were being improperly withheld.
5. Because I was aware the matter was settling and I was mistaken as to the basis of the hearing, I
   did not make arrangements to be present at the September 10 hearing. I also was not able to
   adequately prepare for the topic at issue.
6. A continuance at this stage would result in little to no inconvenience to the Court. Accordingly,
   for good cause shown, Petitioner is asking the Court for a continuance of the Show Cause




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    Hearing, or to allow the Petitioner to attempt to resolve this matter informally. This Motion is not
    sought for delay, but so that judicial economy and efficiency may be served.

        WHEREFORE, the Petitioner respectfully requests that the Court continue the Show Cause
Hearing in this matter, or to allow the Petitioner to attempt to resolve this matter informally.
Dated: September 7, 2018

                                                          /s/ Jason E. Sweet
                                                          Jason E. Sweet (BBO# 668596)
                                                          BOOTH SWEET LLP
                                                          32R Essex Street
                                                          Cambridge, MA 02139
                                                          Tel.: (617) 250-8619
                                                          Fax: (617) 250-8883
                                                          Email: jsweet@boothsweet.com


                                   CERTIFICATE OF SERVICE

        I hereby certify that on September 7, 2018, a true and correct copy of the foregoing document
was filed electronically with the Clerk of the Court, using the CM/ECF system, which sent notification
of such filing to all CM/ECF participants in this case.
                                                                 s/ Jason E. Sweet
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